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 4   e-mail: lawtorres@aol.com
 5   Attorney for Defendant
     CRUZ VALENZUELA
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                   IN THE UNITED STATES DISTRICT COURT
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               FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                            Case No.: 11-CR-197 LJO
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                                   Plaintiff,             STIPULATION TO CONTINUE
14   vs.                                                  STATUS HEARING; ORDER OF DENIAL
15   CRUZ VALENZUELA,
16                                 Defendant,
17
18   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE:
19   LAWRENCE J. O’NEILL AND ELANA S. LANDAU, ASSISTANT UNITED STATES
20   ATTORNEY:
21          COMES NOW Defendant, CRUZ VALENZUELA by and through his attorney of
22   record, DAVID A. TORRES hereby request that the status conference hearing date currently set
23   for Monday, December 5, 2011 be continued to January 17, 2012 at 1:00 p.m., or a date
24   convenient to court and counsel.
25          This is a mutual agreement between myself, Assistant United States Attorney Elana S.
26   Landau and Co-Counsel Jon Kiyoshi Renge and Robert Lee Forkner. It is my understanding that
27   additional discovery is forthcoming. In addition, a continuance is need to discuss the plea
28   agreement.
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 1             The defendant is willing to continue excluding time through the next court
 2   appearance and that the ends of justice in the exclusion outweigh defendant’s speedy trial
 3   rights.
 4             Based upon the foregoing, I respectfully request that this matter be Continued to
 5   January 17, 2012.
 6             The parties also agree that the delay resulting from the continuance shall be excluded in
 7   the interest of justice pursuant to 18 U.S.C. §3161 (h)(7)(A) and §3161 (h)(7)(B)(i) & (iv).
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10   Dated: November 30, 2011                               /s/ David A. Torres
                                                            DAVID A. TORRES
11                                                          Attorney for Defendant
                                                            LONNY RAY HAYCOCK
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     Dated: November 30, 2011                               /s/ Elana S. Landau
14                                                          ELANA S. LANDAU
                                                            Assistant U. S. Attorney
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16   Dated: November 30, 2011                               /s/ Jon Kiyoshi Renge
                                                            JON KIYOSHY RENGE
17                                                          Attorney for Defendant
                                                            Carlos Felipe Castelar -Trujillo
18
19   Dated: November 30, 2011                               /s/Robert Lee Forkner
                                                            ROBERT LEE FORKNER
20                                                          Attorney for Defendant
                                                            Omar Quintero-Rodriguez
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 1                                       ORDER
 2            GOOD CAUSE HAS NOT BEEN STATED. TO JUSTIFY THE GOOD CAUSE
 3   NEEDED TO CONTINUE, THE REASONS THAT DISCOVERY HAS NOT BEEN
 4   PROVIDED IN ITS ENTIRETY BEFORE THIS TIME (THE CASE IS CURRENTLY 6
 5   MONTHS SINCE INDICTMENT), AND ALSO THE REASONS WHY SETTLEMENT
 6   DISCUSSIONS HAVE NOT TAKEN PLACE BY NOW ARE REQUIRED. DENIED.
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                                                                  IT IS SO ORDERED.
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     Dated:     December 1, 2011             /s/ Lawrence J. O'Neill
19   b9ed48                              UNITED STATES DISTRICT JUDGE
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